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7                                  UNITED STATES DISTRICT COURT

8                                SOUTHERN DISTRICT OF CALIFORNIA

9
                                                            Case No.: 21cv1270-W(BLM)
10   E-Z Living LLC,

11                                         Plaintiff,       ORDER STAYING PRETRIAL
                                                            DEADLINES
12   v.

13   A10 Capital, LLC, A10 Capital Holding
     Company, LLC, A10 Permanent Asset
14   Financing 2017-II, LLC, A10 Reit Holdings,
15   LLC, AND DOES 1-20

16                                     Defendants.

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18         On May 27, 2022, the parties filed a Joint Motion for Limited Extension of Fact Discovery

19   Deadline to Conduct Two Depositions and to Substitute Plaintiff Entity. ECF No. 19. The parties

20   sought to continue the May 24, 2022 fact discovery deadline to June 30, 2022 for the limited

21   purpose of deposing Messrs. Mike Fahr and Burt Dezendorf. Id. at 2-3.

22         On May 31, 2022, the Court granted the motion and ordered that “[f]act discovery will

23   close at 11:59 p.m. on June 30, 2022 to allow the parties to complete the depositions of Messrs.

24   Mike Fahr and Burt Dezendorf. No other fact discovery is permitted during this time.” ECF No.

25   20 (emphasis omitted).

26         On June 10, 2022, counsel for both parties emailed the Court, copying each other, setting

27   forth their ongoing dispute regarding the timing of the remaining depositions. ECF No. 22. That

28   same day, the Court ordered counsel to work together to finalize the remaining depositions and

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1    to file a joint notice setting forth the dates and times for the remaining depositions by June 14,

2    2022. Id. The Court noted that “if counsel are unable to agree on any date, the joint document

3    must include each lawyer's position regarding the proposed date(s).” Id.

4          On June 14, 2022, the parties filed a Joint Notice and Request Regarding Deposition

5    Dates. ECF No. 23. The parties stated that instead of providing availability for the 30(b)(6)

6    deposition on June 28, 2022, Plaintiff’s counsel emailed defense counsel on June 13, 2022 “with

7    an offer for a stipulated dismissal of this Action, without prejudice, with a payment of $100,000

8    for Defendants’ attorneys’ fees” in part because “the managing member of E-Z Living LLC, Tony

9    Baihaghy, who would be the 30(b)(6) witness, ‘can no longer proceed with this case due to
10   personal health issues.’” Id. at 2-3. Defendant rejected the offer and, therefore, the parties
11   sought an order from the Court “extend[ing] the fact discovery deadline for an additional two

12   (2) weeks—until July 14—so Plaintiff’s counsel may either (a) prepare and provide dates and

13   times for the deposition of an alternative 30(b)(6) witness or (b) allow time for Mr. Baihaghy’s

14   health to improve.” Id. at 3. The Court granted the parties’ request on June 15, 2022 and

15   ordered that fact discovery will close at 11:59 p.m. on July 14, 2022 to allow the parties to

16   complete the 30(b)(6) witness deposition and the depositions of Messrs. Mike Fahr and Burt

17   Dezendorf. ECF No. 24 (emphasis omitted). The Court noted that if the parties were unable to

18   agree on a date for the deposition of Plaintiff’s 30(b)(6) witness, the deposition would occur on

19   July 12, 2022 at 10:00 a.m. Id. at 2.

20         On June 16, 2022, Plaintiff filed an Ex Parte Motion to Dismiss the Complaint Without

21   Prejudice. ECF No. 25. Defendants opposed the motion on June 21, 2022 and requested that

22   the Court

23           (1) deny Plaintiff’s ex parte application as procedurally and substantively
             defective; (2) in the alternative, deny Plaintiff’s request for voluntary dismissal
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             entirely; or (3) in the alternative, grant voluntary dismissal without prejudice on
25           the conditions that: (a) Plaintiff pay Defendants’ attorneys’ fees and costs in the
             amount of $400,000; (b) Plaintiff be required to refile any subsequent action in
26           the same district court; and (c) all discovery collected so far in this litigation
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             must be available in any subsequent action.

28   ECF No. 27 (emphasis in original). On June 22, 2022, the Court issued an Order Denying

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1    Plaintiff’s Ex Parte Application to Dismiss the Complaint Without Prejudice and ordered Plaintiff

2    to file a regularly noticed motion by June 30, 2022. ECF No. 28.

3           On June 23, 2022, defense counsel emailed the Court explaining various discovery

4    disputes that remain between the parties and requesting that

5            (1) the fact discovery deadlines be extended until a time well after Plaintiff’s
             motion to enter dismissal is decided or else that (2) the Court fast-track the
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             above-described discovery disputes for decision so they can be resolved before
7            the current deadlines the Court has set.

8    Letter Dated June 23, 2022 from Ronald A. McIntire. Plaintiff’s counsel responded to the letter
9    by stating that Plaintiff agrees with Defendants that “the fact discovery deadlines should be
10   extended until a time well after Plaintiff’s motion to enter dismissal is decided is the best option
11   for all parties.” June 24, 2022 email Instructed/Directed by F. Bari Nejadpour from Steve
12   Muehler, Senior Paralegal.
13          After considering the status of the case and the input from counsel, the Court finds it
14   appropriate to stay the remaining pretrial deadlines regulating discovery and other pretrial
15   proceedings [see ECF Nos. 7, 24] pending a ruling on the soon-to-be-filed motion to dismiss the
16   complaint. The parties are ordered to contact Judge Major’s Chambers within three (3) days of
17   Judge Whelan’s order on the soon-to-be-filed motion so that the Court may reset the remaining
18   deadlines if necessary.
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            IT IS SO ORDERED.
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21   Dated: 6/24/2022

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